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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                       Plaintiff,

        v.                                        No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                       Defendants.



     MOTION FOR LEAVE TO IMPOUND CONFIDENTIAL PORTIONS OF
 DEFENDANTS’ REPLY AND CERTAIN EXHIBITS IN SUPPORT OF MOTION FOR
  SUMMARY JUDGMENT OF NON-INFRINGEMENT BASED ON ENSNAREMENT

       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Case No. 15-10698,

Dkt. 170), Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc.

(collectively “Defendants”), hereby move this Court for an Order to impound or otherwise seal the

following documents, on the ground these documents contain or reveal Plaintiff’s, Defendants’

and/or third-party confidential and proprietary information:

   •   Defendants’ Reply In Support Of Defendant’s Motion For Summary Judgment Of Non-
       Infringement Based On Ensnarement;

   •   Defendants’ Response To Plaintiff’s Counterstatement Of Material Facts In Support Of
       Their Opposition To Defendant’s Motion For Summary Judgment Of Non-Infringement
       Based On Ensnarement;

   •   Exhibit 30 to the Reply, excerpts of Butler 4/17/18 Deposition Transcript;

   •   Exhibit 31 to the Reply, excerpts of Butler Validity Rep.;

   •   Exhibit 33 to the Reply, excerpts of Wurm 12/7/2016 Deposition Transcript;

   •   Exhibit 34 to the Reply, excerpts of 2/24/17 Hearing Transcript;
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    •   Exhibit 35 to the Reply, document bearing Bates number GEHC-10698-006760;



        Defendants filed publicly available, redacted versions of these documents through the

electronic filing system, with the exception of Exhibits 30, 31, 33, 34, and 35, which Defendants

request to be sealed in their entirety.

        WHEREFORE, Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira Inc.

respectfully request that this Court allow this Motion.



 Dated: May 29, 2018                            Respectfully submitted,

                                                Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                                and Hospira, Inc.

                                                By their attorneys,

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                                 LR 7.1(a)(2) CERTIFICATION

         I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s

counsel regarding this motion on May 29; Plaintiff assents to this Motion.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

         I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 29,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.
4820-4573-7057.1




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